                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 ST. CLAIR COUNTY EMPLOYEES’                       )   CIVIL ACTION NO.: 3:18-cv-00988
 RETIREMENT SYSTEM, Individually and on            )
 Behalf of All Others Similarly Situated,          )
                                                   )   Judge Eli J. Richardson
                                                   )   Magistrate Judge Alistair Newbern
                       Plaintiff,                  )
                                                   )
        v.                                         )
                                                   )
 ACADIA HEALTHCARE COMPANY, INC.,                  )
 et al.,                                           )
                                                   )
                       Defendants,                 )

                  DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’
                         CONSOLIDATED COMPLAINT

       Pursuant to the Private Securities Litigation Reform Act, 15 U.S.C. §§ 78u-4, et seq., and

Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendants Acadia Healthcare Company,

Inc., Joey Jacobs, Brent Turner, and David Duckworth hereby move this Court to dismiss

Plaintiffs’ Consolidated Complaint (Dkt. No. 39) (“Complaint”) with prejudice for the reasons set

forth in the accompanying Memorandum of Law.

Dated: May 31, 2019                              Respectfully submitted,

                                                 /s/ Steven A. Riley
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of May, 2019, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system which will send a notice of

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